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                                                                    United States District Court
                                                                        Southern District of Texas

                                                                           ENTERED
                   IN THE UNITED STATES DISTRICT COURT                     July 12, 2019
                    FOR THE SOUTHERN DISTRICT OF TEXAS                  David J. Bradley, Clerk
                             HOUSTON DIVISION

DHI GROUP, INC., F/K/A DICE     §
HOLDINGS, INC. AND RIGZONE.COM, §
INC.,                           §
                                §
     Plaintiffs,                §
                                §
v.                              §                CIVIL ACTION NO. H-16-1670
                                §
DAVID W. KENT, JR., et al.,     §
                                §
     Defendants.                §

                  MEMORANDUM, RECOMMENDATION, AND ORDER

       Pending before the court1 is Plaintiffs DHI Group, Inc. f/k/a

Dice       Holdings,   Inc.    (“DHI   Group”)   and    Rigzone.com,       Inc.’s

(“Rigzone”) (collectively, “Plaintiffs”) Affirmative Motion for

Partial Summary Judgment (Doc. 227), Plaintiffs’ Motion for Summary

Judgment on Oilpro’s Counterclaims (Doc. 228), Defendants Single

Integrated Operations Portal, Inc. d/b/a Oilpro and OILPRO.com’s

(“Oilpro”) and David Kent’s (“Kent”) (collectively, “Defendants”)

Motion to Strike Plaintiffs’ Expert Evelina Aslanyan (“Aslanyan”)

(Doc. 230), Defendants’ Motion for Summary Judgment (Doc. 231),

Oilpro’s      Motion   to     Strike   Plaintiffs’     Expert   Shane    Johnson

(“Johnson”) (Doc. 232), Plaintiffs’ Motion for Attorneys’ Fees

(Doc. 263), and Plaintiffs’ Motion to Exclude Trent Livingston

(“Livingston”) (Doc. 266).         The court has considered the motions,



       1
            This case was referred to the undersigned magistrate judge pursuant
to 28 U.S.C. § 636(b)(1)(A) and (B), the Cost and Delay Reduction Plan under the
Civil Justice Reform Act, and Federal Rule of Civil Procedure 72. See Doc. 4,
Ord. Dated June 16, 2016.
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the responses, all other relevant filings, and the applicable law.

For     the   reasons     set    forth    below,     the    court    RECOMMENDS     that

Plaintiffs’ Affirmative Motion for Partial Summary Judgment be

DENIED,       Plaintiffs’       Motion    for     Summary   Judgment       on   Oilpro’s

Counterclaims        be   GRANTED        IN   PART   AND    DENIED    IN    PART,    and

Defendants’ Motion for Summary Judgment be GRANTED IN PART AND

DENIED IN PART, and it is hereby ORDERED that Defendants’ Motion to

Strike Aslanyan is DENIED, Oilpro’s Motion to Strike Johnson is

DENIED, Plaintiffs’ Motion for Attorneys’ Fees is GRANTED IN PART

AND DENIED IN PART, and Plaintiffs’ Supplemental Motion to Exclude

Livingston is DENIED.

                                 I.   Case Background2

        Plaintiffs filed this lawsuit against multiple defendants

alleging violations of various federal statutes as well as state-

law causes of action.3           Oilpro has responded to Plaintiffs’ lawsuit

and filed counterclaims against Plaintiffs also alleging violations

of various federal statutes and state-law causes of action.4




        2
             The court has taken its factual recitation from the cited portions
of the summary judgment record. To the extent that the parties find the court’s
recitation of the facts to be incomplete, the court would remind the parties that
it is their duty to cite to material in the summary judgment record that supports
their factual positions, and the court is only required to consider cited
materials. See Fed. R. Civ. P. 56(c)(1), (3).
        3
               See Doc. 236, Pls.’ 1 st Am. Compl. pp. 34-55.
        4
               See Doc. 63, Oilpro’s 2 nd Am. Ans. and Countercls.

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A.     Factual Background

        The present lawsuit concerns the sale of Rigzone, launch of

Oilpro, and criminal conduct of Kent.

        1.    Rigzone

        Rigzone offered an online platform for professionals in the

oil     and   gas   industry.5      On   Rigzone’s      website,   oil   and   gas

professionals were able to create a profile and upload their

resumes.6      When a resume was uploaded to the Rigzone website it was

assigned a       unique    numerical     identifier.7      These   resumes     were

maintained in a database by Rigzone.8               This process allowed the

Rigzone website users to apply for job openings that were posted by

recruiters and employers.9          Additionally, recruiters and employers

who paid for access to the resume database were able to directly

solicit professionals who had uploaded their resumes for job

opportunities, subject to the user’s privacy settings.10

        2.     Ownership and Sale of Rigzone

        Kent became the majority owner of Rigzone in 2007 when he


        5
               See Doc. 1, Pls.’ Orig. Compl. p. 7; Doc. 17, Def. Kent’s Orig. Ans.
p. 3.
        6
               See Doc. 1, Pls.’ Orig. Compl. p. 8; Doc. 17, Def. Kent’s Orig. Ans.
p. 3.
        7
               See Doc. 1, Pls.’ Orig. Compl. p. 8; Doc. 17, Def. Kent’s Orig. Ans.
p. 3.
        8
               See Doc. 17, Def. Kent’s Orig. Ans. p. 3.
        9
               See id.
        10
               See id.

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purchased the majority interest in Rigzone from his father.11                At

the same time, Kent assumed the positions of President and CEO of

Rigzone.12    In August 2010, DHI Group purchased Rigzone from Kent

for approximately $51 million consisting of $38 million plus a

performance-based bonus that eventually equaled $13 million.13              The

sale of Rigzone to DHI Group was memorialized in a stock purchase

agreement (the “Purchase Agreement”) that Kent signed.14 During the

sale of Rigzone, Kent was represented by lawyers and a mergers and

acquisitions firm that specialized in selling media businesses.15

      3.     The Purchase Agreement

      The Purchase Agreement that Kent signed represented that

Rigzone had “taken all necessary and otherwise reasonable steps to

protect and preserve the confidentiality of all of its Trade

Secrets and all use by, or disclosure to, any Person of such Trade

Secrets has been pursuant to the terms of a [confidentiality

agreement].”16     Kent agreed that at the time he signed the Purchase

Agreement, “all reasonable steps to protect the [Rigzone] website”




      11
            See Doc. 227-4, Ex. 4 to Pls.’ Mot. for Partial Summ. J., Dep. Tr.
of David Kent p. 10:13-24.
      12
             See id. pp. 10:25-11:3.
      13
             See id. pp. 11:8-12:8.
      14
             See id. p. 203:19-23.
      15
             See id. pp. 203:24-204:17.
      16
            See Doc. 227-1, Ex. 1 to Pls.’ Mot. for Partial Summ. J., The
Purchase Agreement p. 14.

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had been taken.17     The Purchase Agreement defined “Trade Secrets”

to “mean any trade secrets or other proprietary and confidential

information including . . . Personal Information, customer lists,

. . . and data collections.”18          “Personal Information” was defined

as “all information or data associated with individual Persons,

including    customers       and   employees,   that   [was]   collected    by

[Rigzone] in the course of its operations.”19

      4.    Rigzone After the Sale and the Launch of Oilpro

      Kent continued as the president of Rigzone for about a year

following its sale.20        During that time, the company took steps to

improve the security of the Rigzone website, including hiring Ernst

& Young to do a security audit of the website.21 The security audit

highlighted some potential security issues that were remediated.22

      As a condition of the sale of Rigzone, Kent signed a non-

compete agreement that prevented him from operating an oil and gas

website until October 1, 2013.23         On January 18, 2012, Kent started

      17
            See Doc. 227-4, Ex. 4 to Pls.’ Mot. for Partial Summ. J., Dep. Tr.
of David Kent p. 213:4-14.
      18
            See Doc. 227-1, Ex. 1 to Pls.’ Mot. for Partial Summ. J., The
Purchase Agreement pp. 54-55.
      19
            See id. p. 52.
      20
            See Doc. 227-4, Ex. 4 to Pls.’ Mot. for Partial Summ. J., Dep. Tr.
of David Kent p. 13:2-8.
      21
            See id. p. 213:22-214:20.
      22
            See Doc. 227-5, Ex. 5 to Pls.’ Mot. for Partial Summ. J., Dep. Tr.
of Jeremy Antonini pp. 20:25-21:8.
      23
            See Doc. Doc. 227-4, Ex. 4 to Pls.’ Mot. for Partial Summ. J., Dep.
Tr. of David Kent pp. 83:25-84:15.

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a new company called SIOPCO.24            Under the umbrella of SIOPCO, Kent

launched the Oilpro website on the day his non-compete agreement

expired.25 From the start, Oilpro operated a networking website for

oil and gas professionals and competed directly with the Rigzone

website.26

        5.      Unauthorized Access of Rigzone Resume Database

        Shortly after launching Oilpro, Kent began downloading copies

of    resumes      from   the   Rigzone   resume     database    through    a   URL,

www.rigzone.com/jobs/resume.asp, that he knew of from his previous

work at Rigzone.27 This first round of access occurred from October

17, 2013, to April 15, 2014, and resulted in Kent’s downloading of

just under 100,000 resumes.28

        In June and July of 2015, Kent again downloaded resumes from

the          Rigzone   resume      database     through      a     second       URL,

www.rigzone.com/jobs/resumes/resume_writer.asp.29                For this second

round of access, Kent wrote a program that automatically downloaded




        24
                See id. p. 16:15-23.
        25
                See id. p. 84:12-15.
        26
                See id. pp. 17:8-10, 125:9-125:15.
        27
                See id. pp. 17:11-18:25, 200:19-21, 201:16-18.
        28
            See Doc. 233-1, Ex. B-14 to Defs.’ Mot. for Summ. J., Mandiant Report
pp. 7-8; Doc. 227-6, Ex. 6 to Pls.’ Mot. for Partial Summ. J., Criminal Compl.
pp. 7-8; Doc. 231, Defs.’ Mot. for Summ. J. p. 9.
        29
            See Doc. 231, Defs.’ Mot. for Summ. J. p. 9; Doc. 231-1, Ex. J-52 to
Defs.’ Mot. for Summ. J., Rigzone ResumeWriter Breach Summary at DHI_0024616-17;

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the resumes through the URL.30        During this second round of access,

Kent allegedly downloaded approximately 700,000 resumes.31

         Kent downloaded the resumes from the Rigzone database to gain

a commercial advantage for Oilpro.32 After downloading the resumes,

Kent invited some of the people whose resumes he had downloaded to

join Oilpro.33

         6.   Criminal Charges Against Kent

         On March 23, 2016, the United States brought criminal charges

against Kent for the above conduct as well as other related acts.34

On December 19, 2016, Kent pled guilty to a violation of the

Computer Fraud and Abuse Act (“CFAA”).35          At his plea hearing, Kent

admitted that he accessed the Rigzone resume database without

authorization and took resumes for his own commercial advantage and

to help Oilpro.36        Kent also admitted that he expected that the

resumes would allow him to increase Oilpro’s membership.37


         30
            See Doc. 227-4, Ex. 4 to Pls.’ Mot. for Partial Summ. J., Dep. Tr.
of David Kent p. 129:11-25.
         31
            See Doc. 227-6, Ex. 6 to Pls.’ Mot. for Partial Summ. J., Criminal
Compl. pp. 8-9.
      32
            See Doc. 227-4, Ex. 4 to Pls.’ Mot. for Partial Summ. J., Dep. Tr.
of David Kent p. 17:17-20.
         33
              See id. pp. 19:1-11.
         34
              See Doc. 227-6, Ex. 6 to Pls.’ Mot. for Partial Summ. J., Criminal
Compl.
      35
            See Doc. 227-2, Ex. 2 to Pls.’ Mot. for Partial Summ. J., Tr. of Kent
Plea Hearing.
         36
              See id. p. 13.
         37
              See id.

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7.     DHI Scrapes Data from Oilpro Website

       On or about June 16, 2015, DHI Group began scraping data from

the Oilpro website.38      The terms and conditions of Oilpro’s website

prohibited     users   from:   (1)   using     “automated   means,   including

spiders, robots, crawlers, agents, or the like to download data

from any database of Oilpro, or from the site itself (for example,

site or page scraping is prohibited)[;]” (2) “harvest[ing] or

otherwise     collect[ing]     or   stor[ing]    information   about    others,

including     e-mail   addresses[;]”     (3)    “us[ing],   download[ing]     or

otherwise copy[ing], or provid[ing] (whether or not for a fee) to

a person or entity any directory of users of the Services or other

user or usage information or any portion thereof.”39               The parties

hotly dispute whether, in June 2015, there was a link to these

terms and conditions on the home page or site map of the Oilpro

website.40

B.    Procedural Background

       Plaintiffs commenced this action on June 10, 2016.41                   On

November 15, 2016, Oilpro filed its second amended answer and



      38
            See Doc. 244, Ex. T to Oilpro’s Resp. to Pls.’ Mot. for Summ. J. on
Oilpro’s Countercls., Excerpts of Michael Durney Dep.; Doc. 63, Def. Oilpro’s 2nd
Am. Countercls. p. 30.
      39
            See Doc 63-1, Ex. 1 to Def. Oilpro’s 2nd Am. Countercls., Oilpro
Terms and Conditions pp. 4-5.
      40
            See Doc. 228, Pls.’ Mot. for Summ. J. on Oilpro’s Countercls.’ pp.
10-11; Doc. 238, Oilpro’s Resp. to Pls.’ Mot. for Summ. J. on Oilpro’s
Countercls. p. 15.
       41
             See Doc. 1, Pls.’ Compl.

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counterclaims.42         Plaintiffs filed a motion to dismiss Oilpro’s

counterclaims on December 5, 2016.43           On April 21, 2017, the court

entered a recommendation that Oilpro’s counterclaims for trespass

to    chattels     and     unjust   enrichment      be       dismissed.44      The

recommendation was adopted on October 26, 2017.45

       On   July   20,    2018,   Plaintiffs     filed   a    motion    to   strike

Livingston.46      On October 12, 2018, Plaintiffs’ filed: (1) a motion

to exclude the testimony of Livingston; (2) their pending motion

for partial summary judgment; and (3) their pending motion for

summary judgment on Oilpro’s counterclaims.47                  On the same day,

Defendants filed their pending: (1) motion to strike Aslanyan; (2)

motion for summary judgment; and (3) motion to strike Johnson.48 On

November    16,    2018,    Defendants   filed    responses      to    Plaintiffs’

motions for summary judgment.49          On the same day, Plaintiffs filed




       42
             See Doc. 63, Oilpro’s 2 d Am. Countercls.
       43
            See Doc. 64, Pls.’ Mot. to Dismiss Oilpro’s 2d Am. Countercls.; Doc.
72, Oilpro’s Resp. to Pls.’ Mot. to Dismiss Oilpro’s 2 d Am. Countercls.
       44
             See Doc. 102, Mem. & Recom. Dated Apr. 21, 2017.
       45
             See Doc. 153, Ord. Dated Oct. 26, 2017.
       46
             See Doc. 215, Pls.’ Mot. to Strike Livingston.
      47
            See Doc. 226, Pls.’ Mot. to Exclude Livingston; Doc. 227, Pls.’ Mot.
for Partial Summ. J.; Doc. 228, Pls.’ Mot. for Summ. J. on Oilpro’s Countercls.
      48
            See Doc. 230, Defs.’ Mot. to Strike Pls.’ Expert Aslanyan; Doc. 231,
Defs.’ Mot. for Summ. J.; Doc. 232, Defs.’ Mot. to Strike Pls.’ Expert Johnson.
       49
            See Doc. 238, Oilpro’s Resp. to Mot. for Summ. J. on Oilpro’s
Councercls.; Doc. 239, Defs.’ Resp. to Pls.’ Mot. for Partial Summ. J.

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responses to Defendants’ October 12, 2018 motions.50               On November

19, 2018, Defendants filed a response to Plaintiffs’ motion to

exclude Livingston.51          On November 26, 2018, Plaintiffs filed

replies in support of their October 12, 2018 motions.52 On December

3, 2018, Defendants filed replies in support of their October 12,

2018 motions.53

      On March 21, 2019, the court held a hearing on Plaintiffs’

motions to strike and exclude Livingston.                As discussed in more

detail below, on March 22, 2019, the court granted both motions in

part.54    Defendants objected to the court’s order granting the

motions    in   part,   and,    on   May    1,   2019,   the   objections   were

overruled.55

      On April 19, 2019, Plaintiffs filed their pending supplemental

motion to exclude Livingston.56        Defendants filed a response to the



      50
            See Doc. 240, Pls.’ Resp. to Defs.’ Mot. for Summ. J.; Doc. 243,
Pls.’ Resp. to Mot. to Strike Aslanyan; Doc. 241, Pls.’ Resp. to Mot. to Strike
Johnson.
      51
            See Doc. 245, Defs.’ Resp. to Pls.’ Mot. to Exclude Livingston. This
response was incorrectly filed as docket entry number 242. The November 16, 2018
filing is a corrected version.
      52
            See Doc. 246, Pls.’ Reply in Support of Mot. for Summ. J. on Oilpro’s
Countercls.; Doc. 247, Pls.’ Reply in Support of Mot. for Partial Summ. J.; Doc.
248, Pls.’ Reply in Support of Mot. to Exclude Livingston.
      53
            See Doc. 250, Defs.’ Reply in Support of Mot. for Summ. J.; Doc. 252,
Reply in Support of Mot. to Strike Pls.’ Expert Aslanyan; Doc. 254, Reply in
Support of Mot. to Strike Pls.’ Expert Johnson.
      54
            See Ord. Dated Mar. 22, 2019.
      55
            See Doc. 270, Mem. Op. Dated May 1, 2019.
      56
            See Doc. 266, Pls.’ Supp. Mot. to Exclude Livingston.

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supplemental motion to exclude on May 10, 2019.57              Plaintiffs filed

a reply in support of their supplemental motion to exclude on May

15, 2019.58      Without leave of the court, Defendants filed a sur-

reply to the supplemental motion to exclude on May 23, 2019.59                 The

procedural history and merits of Plaintiffs’ motions to exclude and

strike Livingston are discussed further below.

                             II.   Legal Standards

       The following standards are relevant to the court’s resolution

of the pending motions.

A.     Motion for Summary Judgment Standard

       Summary judgment is warranted when the evidence reveals that

no genuine dispute exists regarding any material fact and the

moving party is entitled to judgment as a matter of law.                  Fed. R.

Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986);

Coastal Agric. Supply, Inc. v. JP Morgan Chase Bank, N.A., 759 F.3d

498, 504 (5th Cir. 2014).            A material fact is a fact that is

identified by applicable substantive law as critical to the outcome

of the suit.       Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

(1986); Ameristar Jet Charter, Inc. v. Signal Composites, Inc., 271

F.3d 624, 626 (5th Cir. 2001).          “Where the record taken as a whole

could not lead a rational trier of fact to find for the non-moving


       57
              See Doc. 271, Defs.’ Resp. to Pls.’ Supp. Mot. to Exclude Livingston.
       58
              See Doc. 273, Pls.’ Reply in Support of Supp. Mot. to Exclude
Livingston.
       59
              See Doc. 275, Sur-reply to Pls.’ Supp. Mot. to Exclude Livingston.

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party, there is no genuine issue for trial.”                Coastal Agricultural

Supply, Inc., 759 F.3d at 504 (quoting Matsushita Elec. Indus. Co.

v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)).

      The movant must inform the court of the basis for the summary

judgment motion and must point to relevant excerpts from pleadings,

depositions, answers to interrogatories, admissions, or affidavits

that demonstrate the absence of genuine factual issues. See id. at

505 (quoting Celotex Corp., 477 U.S. at 323).                       If the movant

carries its burden, the nonmovant may not rest on the allegations

or denials in the pleading but must respond with evidence showing

a genuine factual dispute.       See id.      The court must accept all of

the   nonmovant’s     evidence   as    true    and     draw    all    justifiable

inferences in her favor.      Coastal Agric. Supply, Inc. v. JP Morgan

Chase   Bank,   N.A.,   759   F.3d    498,    505    (5th    Cir.   2014)(quoting

Anderson, 477 U.S. at 255).

      B.   Expert Testimony Standard

      Under the Federal Rules of Evidence and related case law, an

expert may be qualified by “knowledge, skill, experience, training,

or education.”      Fed. R. Evid. 702.       “To qualify as an expert, the

witness must have such knowledge or experience in [his] field or

calling to make it appear that his opinion or inference will

probably aid the trier in [the] search for truth.”                   United States

v. Hicks, 389 F.3d 514, 524 (5th Cir. 2004)(quoting United States

v. Bourgeois, 950 F.2d 980, 987 (5th Cir. 1992)).               If an opinion is


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based solely or primarily on experience, it “must be grounded in an

accepted body of learning or experience in the expert’s field.”

Fed. R. Evid. 702, advisory committee’s note, 2000 Amends.              The

witness must connect the experience to the conclusion offered, must

explain why the experience is a sufficient basis for the opinion,

and must demonstrate the appropriateness of the application of the

experience to the facts.     Id.

      Although an expert need not be highly qualified to testify on

a given topic, his testimony on subjects in which he is not

qualified must be excluded.     Huss v. Gayden, 571 F.3d 442, 452 (5th

Cir. 2009).    An additional limitation on expert witnesses is that

they may not offer conclusions of law.         C.P. Interests, Inc. v.

Cal. Pools, Inc., 238 F.3d 690, 697 (5th Cir. 2001)(citing Owen v.

Kerr McGee Corp., 698 F.2d 236, 240 (5th Cir. 1983)).

      The expert’s testimony must be both relevant and reliable.

Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999); Smith v.

Goodyear Tire & Rubber Co., 495 F.3d 224, 227 (5th Cir. 2007); see

also Fed. R. Evid. 702 & advisory committee’s note, 2000 Amends.

The   burden   of   establishing   this   predicate   for   the    expert’s

testimony falls on the party producing the expert.           See Moore v.

Ashland Chem. Inc., 151 F.3d 269, 276 (5th Cir. 1998).            The trial

court has the responsibility of determining whether that party has

met its burden.     Fed. R. Evid. 104(a); Mathis v. Exxon Corp., 302

F.3d 448, 459-60 (5th Cir. 2002); see also Daubert v. Merrell Dow



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Pharms.,   Inc.,     509   U.S.    579,       589   (1993).    The   court     also

determines, as a matter of law, whether the expert is qualified to

testify on the subjects on which he offers opinions.                 Mathis, 302

F.3d at 459.   The trial judge has “wide latitude in determining the

admissibility of expert testimony;” yet, “the rejection of expert

testimony is the exception rather than the rule.”                 Fed. R. Evid.

702, advisory committee’s note, 2000 Amends.; Wilson v. Woods, 163

F.3d 935, 936-37 (5th Cir. 1999)(quoting Watkins v. Telsmith, Inc.,

121 F.3d 984, 988 (5th Cir. 1997)).

       To be relevant, the testimony must assist “the trier of fact

to understand the evidence or to determine a fact in issue.”                   Fed.

R. Evid. 702; see also United States v. Hicks, 389 F.3d 514, 524

(5th Cir. 2004); Daubert, 509 U.S. at 591.                 The Federal Rules of

Evidence define relevant evidence as that which “has any tendency

to make a fact more or less probable than it would be without the

evidence” and “the fact is of consequence in determining the

action.”   Fed. R. Evid. 401.          In other words, the expert testimony

must be applicable to the facts in issue.                  Daubert, 509 U.S. at

592-93.

       Reliability hinges on the sufficiency of the facts or data

upon   which   the   opinion      is    based,      the   dependability   of    the

principles and methods employed, and the proper application of the

principles and methods to the facts of the case.               See Fed. R. Evid.

702.    The trial judge must make certain that the expert applied



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“the same level of intellectual rigor that characterizes the

practice of an expert in the relevant field.”                    Kumho Tire Co.,

Ltd., 526 U.S. at 152.

                                   III. Analysis

       Plaintiffs have moved: (1) for summary judgment on all of

Oilpro’s counterclaims; (2) for summary judgment against Defendants

on their claim for misappropriation of trade secrets; (3) to

exclude Livingston; and (4) for their attorney’s fees based on

their previous motion to exclude Livingston.                     Defendants have

moved: (1) for summary judgment on all of Plaintiffs’ claims; (2)

to strike Johnson; and (3) to strike Aslanyan.

A.    Plaintiffs’ Affirmative Motion for Summary Judgment

       Plaintiffs move for affirmative summary judgment on their

claims against Kent for misappropriation of trade secrets under the

Texas       Uniform   Trade     Secrets   Act60   (“TUTSA”).61     Additionally,

Plaintiffs argue that Oilpro is liable for these claims under the

vice-principal theory.62

       Under the TUTSA, there are six avenues for a plaintiff to

establish a misappropriation of a trade secret.                   See Tex. Civ.


       60
               Tex. Civ. Prac. & Rem. Code §§ 134A.001 et. seq.
       61
             See Doc. 227, Pls.’ Affirmative Mot. for Summ. J. Plaintiffs’ motion
does not mention the Google Analytics data that is discussed in their complaint
and provides the basis for two of their four TUTSA allegations. See Doc. 236,
Pls.’ 1st Am. Compl. ¶¶ 174-175. Accordingly, the court assumes that Plaintiffs’
motion is only in reference to Plaintiffs’ TUTSA allegations regarding the
misappropriation of “proprietary member information” pursuant to Sections 3(A)
and 3(B)(i). See Doc. 236, Pls.’ 1 st Am. Compl. ¶¶ 172-173.
       62
               See id. p. 16.

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Prac. & Rem. Code § 134A.002(3).         Plaintiffs have pled their TUTSA

causes of action through two of these six avenues, the TUTSA

Sections 134A.002(3)(A) (“Section 3(A)”) and 134A.002(3)(B)(i)

(“Section     3(B)(i)”).63         Section      3(A)     provides     that    a

misappropriation is defined as the “acquisition of a trade secret

of another by a person who knows or has reason to know that the

trade secret was acquired by improper means . . . .”                Tex. Civ.

Prac. & Rem. Code § 134A.002(3)(A). Section 3(B)(i) provides that

a misappropriation is defined as the “disclosure or use of a trade

secret of another without express or implied consent by a person

who . . . used improper means to acquire knowledge of the trade

secret . . . .”     Tex. Civ. Prac. & Rem. Code § 134A.002(3)(B)(i).

      Plaintiffs argue that the contents of the Rigzone resume

database are trade secrets that Kent misappropriated.64               In their

response, Defendants do not argue that either Section 3(A) or

3(B)(i) is inapplicable to Kent’s conduct, but rather, that the

contents of the Rigzone resume database are not trade secrets

protected by the TUTSA.65       The established facts show that Kent’s



      63
            See Doc. 236, Pls.’ 1 st Am. Compl. ¶¶ 172-174.
      64
            See Doc. 227, Pls.’ Mot. for Affirmative Summ. J. pp. 13-15.
      65
            See Doc. 239, Defs.’ Resp. to Pls.’ Affirmative Mot. for Summ. J. p.
8. In their response, Defendants specifically argue that “Kent did not access
or acquire the resume database and Plaintiffs do not argue that the individual
resumes are trade secrets.”       See id. p. 12.       However, Plaintiffs are
unequivocally arguing that “The Contents of Rigzone’s Resume Database Are Trade
Secrets.” See Doc. 227, Pls.’ Mot. for Affirmative Summ. J. p. 17. Accordingly,
the court’s analysis is focused on whether the contents of the Rigzone resume
database are trade secrets.

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conduct violated Sections 3(A) and 3(B)(i) if the contents of the

Rigzone resume database are in fact trade secrets.           Accordingly,

the only question for the court is whether the contents of the

Rigzone resume database are trade secrets.

     1.   Trade Secrets Under the TUTSA

     Under the TUTSA, a trade secret is defined as:

     all forms and types of information, including business,
     scientific,   technical,    economic,    or   engineering
     information, and any formula, design, prototype, pattern,
     plan, compilation, program device, program, code, device,
     method, technique, process, procedure, financial data, or
     list of actual or potential customers or suppliers,
     whether tangible or intangible and whether or how stored,
     compiled, or memorialized physically, electronically,
     graphically, photographically, or in writing if:

          (A) the owner of the trade secret has taken
          reasonable measures under the circumstances to keep
          the information secret; and

          (B) the information derives independent economic
          value, actual or potential, from not being
          generally   known  to,  and   not  being readily
          ascertainable through proper means by, another
          person who can obtain economic value from the
          disclosure or use of the information.

Tex. Civ. Prac. & Rem. Code § 134A.002(6).          The TUTSA “displaces

conflicting tort, restitutionary, and other law of this state

providing civil remedies for misappropriation of a trade secret.”

Tex. Civ. Prac. & Rem. Code § 134A.007(a).          While the TUTSA does

not affect contractual remedies, it does not provide that its

definition of a trade secret may be supplanted by a contract

between parties.    See Tex. Civ. Prac. & Rem. Code § 134A.007(b).

Accordingly, Plaintiffs’ attempted reliance on the definition of a

                                    17
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trade secret in the Purchase Agreement is misplaced when addressing

Plaintiffs’ TUTSA claims.66 It is the TUTSA’s definition of a trade

secret that controls.67

         Turning back to the TUTSA’s definition, Defendants’ argue that

the      contents        of   the   Rigzone    “resume      database   [are]    not   a

compilation            protected    under   the    TUTSA”   and   “Rigzone     took   no

measures to maintain the secrecy of the resume database.”68 Although

it is not a contested issue, the court will also address whether

the TUTSA’s economic value requirements are met.

                  i.     Information Protected by the TUTSA

         As to Defendants’ first argument, the TUTSA broadly defines

the various forms and types of information that can be trade

secrets before narrowing its scope to include only those forms and

types that meet certain secrecy (§ 134A.002(6)(A)) and economic

value (§ 134A.002(6)(B)) requirements.                 See Tex. Civ. Prac. & Rem.

Code § 134A.002(6).             Within its broad preliminary scope, the TUTSA

defines       a     trade     secret   to   include   “all    forms    and   types    of

information . . . and any . . . compilation[,]” regardless of how

it is compiled as long as it meets the more narrow secrecy and

economic value requirements.                See id.   The contents of the Rigzone

         66
                  See Doc. 227, Pls.’ Affirmative Mot. for Summ. J. pp. 11-15.
      67
            This is not to say that the Purchase Agreement’s definition of a
trade secret is irrelevant.    The Purchase Agreement’s definition supports
exemplary damages and, as addressed below, the secrecy of the contents of the
Rigzone resume database.
         68
                  See Doc. 239, Defs.’ Resp. to Pls.’ Affirmative Mot. for Summ. J. pp.
13-17.

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resume database are a compilation of resumes which are undeniably

a “type[] of information[.]” See id. Thus, the pertinent question

is whether the contents of the resume database meet the TUTSA’s

secrecy and economic value requirements.

               ii.   Secrecy of the Resume Database

      The contents of the Rigzone resume database are only trade

secrets if Rigzone took reasonable measures under the circumstances

to keep the contents secret.              See Tex. Civ. Prac. & Rem. Code §

134A.002(6)(A).         After Rigzone was purchased from Kent, DHI hired

Ernst & Young to perform a security audit of the website and

remediated any issues that were discovered.69                       Kent himself stated

that he thought the security on the website was fine prior to the

Ernst      &   Young    audit,   which      he    found        to    be   unnecessary.70

Furthermore, Kent signed the Purchase Agreement warranting that

“all necessary and otherwise reasonable steps to protect and

preserve the confidentiality of” the contents of the Rigzone resume

database       had   been   taken   at    the    time     of    signing.71       At   his

deposition,      Kent    confirmed       that    when   he     signed     the   Purchase


      69
            See Doc. 227-5, Ex. 5 to Pls.’ Mot. for Partial Summ. J., Dep. Tr.
of Jeremy Antonini pp. 20:25-21:8.
      70
            See Doc. 227-4, Ex. 4 to Pls.’ Mot. for Partial Summ. J., Dep. Tr.
of David Kent p. 214:18-215:1.
      71
            See Doc. 227-1, Ex. 1 to Pls.’ Mot. for Partial Summ. J., The
Purchase Agreement p. 14. While not binding for the purposes of the TUTSA, the
definition of a Trade Secret under the Purchase Agreement includes the contents
of the Rigzone resume database. See id. pp. 52, 54-55. Kent acknowledged that
the Purchase Agreement defines Trade Secrets to include the contents of the
Rigzone resume database. See Doc. 227-4, Ex. 4 to Pls.’ Mot. for Partial Summ.
J., Dep. Tr. of Kent pp. 207:1-208:9.

                                           19
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Agreement, “all reasonable steps to protect the [Rigzone] website”

had been taken.72

      Defendants argue that a lengthy list of reasons, including but

not limited to the following, show that Plaintiffs did not take

reasonable steps to protect the contents of the Rigzone resume

database: (1) at one point, Rigzone sent 1,775,375 resume profiles

to WorkDigital, a company affiliated with DHI Group, without making

it sign a non-disclosure agreement; (2) Rigzone allowed paying

customers to access and download large quantities of resumes and

did not monitor their access; (3) Rigzone did not require its

employees who had access to the resume database to sign non-

disclosure agreements; (4) a Rigzone employee was allowed to take

and keep two servers that had the resume database on them without

signing a non-disclosure agreement and was not told to delete the

resumes; (5) the resumes were not encrypted; and (6) Rigzone

employees were not informed that the resumes were a trade secret.73

      The evidence presented by the parties establishes that it is

a contested issue of fact as to whether Rigzone took reasonable


      72
            See Doc. 227-4, Ex. 4 to Pls.’ Mot. for Partial Summ. J., Dep. Tr.
of Kent p. 213:4-14.
      73
            See Doc. 231, Defs.’ Mot. for Summ. J. pp. 30-33; Doc. 244, Ex. R-4
to Defs.’ Resp. to Oilpro’s Resp. to Pls.’ Affirmative Mot. for Summ. J., Apr.
13, 2016 Email; Doc. 233, Ex. J to Oilpro’s Resp. to Pls.’ Affirmative Mot. for
Summ. J., Dep. Tr. of Chad Norville pp. 156:1-19, 166:21-24, 167:24-168:03,
198:17-20, 212:06-15, 216:24-217:24; Doc. 227-5, Ex. 5 to Pls.’ Mot. for Partial
Summ. J., Dep. Tr. of Jeremy Antonini pp. 141:03-15, 144:10-149:25. Defendants
also argue that customers were not required to sign non-disclosure agreements,
but only cites to one contract with one customer as support. At best, this shows
that, in that instance, Rigzone did not require the customer to sign a non-
disclosure agreement.

                                      20
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measures under the circumstances to keep the contents of its resume

database secret.      The trier of fact will need to weigh the evidence

presented by the parties on this issue.            Accordingly, Plaintiffs’

affirmative motion for summary judgment should be DENIED.

       Given that there is a fact issue on whether the contents of

the Rigzone resume database are trade secrets, at this time, the

court will not address the TUTSA’s economic value requirements or

Plaintiffs’ vice-principal theory.

B.    Defendants’ Motion for Summary Judgment

       Plaintiffs currently allege the following causes of action:

(1) violations of the Computer Fraud and Abuse Act (“CFAA”) against

Defendants; (2) violations of the Stored Wire and Electronic

Communications and Transactional Records Access Act (“SCA”) against

Defendants; (3) violations of the Racketeer Influenced and Corrupt

Organizations Act (“RICO”) against Kent; (4) violations of the

TUTSA against Defendants; (5) misappropriation of confidential

information against Defendants; (6) violation of the Texas Harmful

Access by Computer Act (“THACA”) against Defendants; (7) violation

of the Texas Theft Liability Act (“TTLA”) against Defendants; and

(8) breach of fiduciary duties against Kent.74

       Defendants argue that they are entitled to summary judgment on

all    of   Plaintiffs’     claims    because:    (1)   the   TUTSA   preempts

Plaintiffs’ state law claims; (2) Plaintiffs’ state-law claims lack


       74
             See Doc. 236, Pls.’ 1 st Am. Compl. pp. 34-55.

                                       21
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merit; (3) Plaintiffs’ resumes are not a trade secret under the

TUTSA and, even if they are, Plaintiffs did not suffer damages; (4)

the SCA does not apply; (5) RICO does not apply; (6) Plaintiffs

have no overall damages; and (7) the statute of limitations bars

some of Plaintiffs’ claims arising from the first round of access

by Kent.

     1.    Trade Secrets Under the TUTSA

     Defendants argue that Plaintiffs’ claims under the TUTSA fail

because the contents of the Rigzone resume database, Plaintiffs’

internet search techniques, and Plaintiffs’ Google analytics data

are not trade secrets.75      As discussed above, a factual dispute

exists whether the contents of the Rigzone resume database are

trade secrets. Accordingly, summary judgment should not be granted

on Plaintiffs’ TUTSA claims based on the contents of the Rigzone

resume database.

     Plaintiffs have not responded to Defendants’ arguments that

Plaintiffs’ internet search techniques and Google analytics data

are not trade secrets.       The court interprets this to mean that

Plaintiffs’ have abandoned their TUTSA claims related to the

alleged misappropriation of their internet search techniques and

Google analytics data.       Accordingly, summary judgment should be

GRANTED on Plaintiffs’ TUTSA claims related to the Google analytics

data and internet search techniques.


     75
           See Doc. 231, Defs.’ Mot. for Summ. J. pp. 22-35.

                                    22
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        2.         Damages Under the TUTSA

        Defendants also argue that Plaintiffs’ TUTSA claims fail

because the            access     of    the   Rigzone    resume    database     caused   no

damage.76       “Remedies available under the [TUTSA] include injunctive

relief; damages measured by actual loss plus unjust enrichment not

included in computing actual loss; a reasonable royalty; and

exemplary damages capped at two times actual damages.”                          Sw. Energy

Prod.        Co.     v.   Berry-Helfand,        491     S.W.3d    699,   711    n.7   (Tex.

2016)(citing Tex. Civ. Prac. & Rem. Code §§ 134A.003-.004).

        Plaintiffs         have        presented     evidence     that   Kent   illicitly

obtained hundreds of thousands of resumes, and Kent admits that the

resumes “create value for the business line” that the parties are

in.77        Accordingly, Plaintiffs have provided sufficient evidence

that they were damaged for their TUTSA claim to survive summary

judgment.

        3.         Preemption Under the TUTSA

        Defendants argue that the TUTSA preempts Plaintiffs claims for

misappropriation of confidential information, violation of the

TTLA, violation of the THACA, and breach of fiduciary duty.78

Plaintiffs agree that summary judgment should be granted on their




        76
                   See id. p. 36.
      77
            See Doc. 227-4, Ex. 4 to Pls.’ Mot. for Partial Summ. J., Dep. Tr.
of David Kent pp. 61:18-62:14.
        78
                   See Doc. 231, Defs.’ Mot. for Summ. J. pp. 13-16.

                                                23
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TTLA claim, but argue that the other claims are not preempted.79

     The TUTSA “displaces conflicting tort, restitutionary, and

other     law    of    this   state    providing     civil    remedies     for

misappropriation of a trade secret.”            Tex. Civ. Prac. & Rem. Code

§ 134A.007(a). “Where a claim is based on a misappropriation of a

trade secret, then it is preempted by the [TUTSA].”               Super Starr

Int'l, LLC v. Fresh Tex Produce, LLC, 531 S.W.3d 829, 843 (Tex.

App.—Corpus Christi 2017, no pet.)(citing Tex. Civ. Prac. & Rem.

Code § 134A.007(a)).          The TUTSA has no effect on “other civil

remedies that are not based upon misappropriation of a trade secret

. . . .”    Tex. Civ. Prac. & Rem. Code § 134A.007(b)(2).

     Texas federal courts have come to differing conclusions on

whether    the    TUTSA’s     preemption    provision      encompasses     the

misappropriation of information that is not a trade secret.               See

AMID, Inc. v. Medic Alert Found. United States, Inc., 241 F. Supp.

3d 788, 827 (S.D. Tex. 2017) (holding that the plaintiff was

allowed to plead that the defendant “misappropriated information

protected as trade secrets, and alternatively under the theory that

the misappropriated information was not a trade secret but was

confidential”);       but   see   Embarcadero    Techs.,   Inc.   v.   Redgate

Software, Inc., 1:17-CV-444-RP, 2018 WL 315753, at *3 (W.D. Tex.

Jan. 5, 2018)(following the “majority approach” and holding that

the “TUTSA's preemption provision encompasses all claims based on


     79
            See Doc. 240, Pls.’ Resp. to Defs.’ Mot. for Summ. J. p. 5.

                                      24
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the alleged improper taking of confidential business information”).

      In Embarcadero, the court addressed “whether a breach of

fiduciary   duty     claim   alleging     only       the   misappropriation   of

confidential information is preempted by [the] TUTSA.” Embarcadero,

2018 WL 315753 at *2-3. The court recognized that Texas courts had

not addressed the issue.      See id.     However, for guidance, the court

looked to Super Starr, a Texas appellate court case finding that a

breach of fiduciary duty claim was preempted by the TUTSA.              See id.

at *3. The Embarcadero court recognized that the Super Starr court

did   not   conclusively      find      that     a     claim   based   on     the

misappropriation of information that was not a trade secret is

preempted by the TUTSA because the Super Starr court based its

conclusion on a finding that the theft of trade secrets was a

necessary component of the underlying breach of fiduciary duty

claim.   See id.

      “After reviewing the reasoning in Super Starr and that of

various other courts across the country applying Uniform Trade

Secrets Act preemption, the [Embarcadero court found] that [the]

TUTSA's preemption provision encompasses all claims based on the

alleged improper taking of confidential business information.” Id.

The court reasoned that the majority of courts across the country

have come to the same conclusion, and that this conclusion is

supported   by     the   TUTSA’s   preemption         provision’s   purpose    to

“‘prevent inconsistent theories of relief for the same underlying



                                     25
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harm by eliminating alternative theories of common law recovery

which are premised on the misappropriation of a trade secret.’” Id.

(quoting Super Starr, 531 S.W.3d at 843).

       Embarcadero and Super Starr both recognize that the TUTSA’s

preemption provision was intended to eliminate common law theories

that were based on a “misappropriation of a trade secret.”                        And,

the plain language of the TUTSA’s preemption provision states that

it has no effect on “other civil remedies that are not based upon

misappropriation of a trade secret . . . .”                Tex. Civ. Prac. & Rem.

Code § 134A.007(b)(2). Yet, Embarcadero and the majority of courts

from    other    jurisdictions    hold    that       the   preemption        provision

eliminates common law theories that are based on a misappropriation

of trade secrets and theories that are based on a misappropriation

of information that is not a trade secret. These holdings directly

conflict with the TUTSA’s plain language stating that it is to have

no     effect   on    civil   remedies        not    based       on   trade     secret

misappropriation.           See   Tex.        Civ.   Prac.       &    Rem.    Code   §

134A.007(b)(2).

       The court fails to see how the plain language of the TUTSA’s

preemption provision can be read to preempt civil remedies for the

misappropriation       of   information       that   is    not    a   trade   secret.

Accordingly, without further guidance from Texas courts, the court

finds the reasoning in AMID persuasive and finds that Plaintiffs

may maintain their causes of action for the misappropriation of



                                         26
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trade secrets under the TUTSA as well as their causes of action for

the misappropriation of information that is not a trade secret.

      As discussed above, neither party has established the trade

secret     status   of    any   of   the    information   that    was    illicitly

obtained.     Accordingly, at this time, the court cannot say whether

any of Plaintiffs’ non-TUTSA claims are preempted.                If it is later

established that any of the illicitly obtained information is a

trade secret under the TUTSA, then the TUTSA preempts Plaintiffs’

claims involving the misappropriation of that information.80

      4.     Merits of Plaintiffs’ State-Law Claims

      Defendants      argue     that   Plaintiffs’    state-law        claims    for

misappropriation         of   confidential      information      and    breach    of

fiduciary duties fail on their merits.

             i.     Misappropriation of Confidential Information

      Defendants argue that Plaintiffs’ claim for misappropriation

of confidential information fails because Plaintiffs did not suffer

commercial damage.81          Defendants incorrectly cite to the elements

of a cause of action for misappropriation of a business opportunity

which requires commercial damage.82 See e.g., Playboy Enters., Inc.

v. Webbworld, Inc., 991 F. Supp. 543, 558 (N.D. Tex. 1997)(listing

      80
            This addresses Defendants’ arguments that Plaintiffs’ THACA claims
are partially preempted. See Doc. 231, Defs.’ Mot. for Summ. J. p. 16. To the
extent it is shown that Plaintiffs’ claims seek THACA damages for the
misappropriation of information that is a trade secret under the TUTSA, the
claims are preempted.
      81
             See Doc. 231, Defs.’ Mot. for Summ. J. pp. 16-18.
      82
             See id. p. 16.

                                           27
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the elements of misappropriation of a business opportunity), aff'd,

168   F.3d     486    (5th     Cir.      1999).      A    cause    of      action    for

misappropriation of confidential information does not require a

showing of commercial damage.              See e.g., Samsung Elecs. Am., Inc.

v. Yang Kun Chung, Civ. Act. No. 3:15-CV-4108-D, 2017 WL 635031, at

*14    (N.D.       Tex.    Feb.     16,     2017)(listing        the    elements      of

misappropriation          of   confidential        information).        Accordingly,

Defendants’ argument lacks merit.

             ii.     Breach of Fiduciary Duty

      Defendants      argue       that    Kent    owed   no    fiduciary    duties    to

Plaintiffs that were breached by Kent’s actions.83 Defendants claim

that the only fiduciary duty that survived Kent’s employment with

Rigzone was the duty to not disclose trade secrets.84                         This is

incorrect.         Following       his    employment,     an    ex-employee     has    a

fiduciary duty that forbids the employee “from using confidential

or proprietary information acquired during the relationship in a

manner adverse to the employer.”                    T-N-T Motorsports, Inc. v.

Hennessey Motorsports, Inc., 965 S.W.2d 18, 22 (Tex. App.—Houston

[1st Dist.] 1998, pet. dism'd)(citing                Miller Paper Co. v. Roberts

Paper Co., 901 S.W.2d 593, 600 (Tex. App.—Amarillo 1995, no writ).

      Kent accessed the Rigzone resume database through URLs of




      83
             See Doc. 231, Defs.’ Mot. for Summ. J. p. 19.
      84
             See Doc. 231, Defs.’ Mot. for Summ. J. p. 20.

                                            28
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which he was aware because of his previous employment at Rigzone.85

He then used the information he retrieved to help Oilpro, a company

that was directly competing with                Rigzone.86    These facts are

sufficient for Plaintiffs’ breach of fiduciary duty claim to

survive summary judgment.

      5.    Violation of the SCA

      The SCA provides a civil cause of action against a defendant

who “(1) intentionally accesses without authorization a facility

through which an electronic communication service is provided; or

[]intentionally exceeds an authorization to access that facility;

and [(2)] thereby obtains, alters, or prevents authorized access to

a wire or electronic communication while it is in electronic

storage in such system . . . .”               See 18 U.S.C. §§ 2701(a), 2707.

Defendants argue that Plaintiffs cannot meet their summary judgment

burden on the second element of their SCA claim because Defendants

“did not    access   an     electronic    communication      while     it   was   in

electronic storage.”87 The SCA defines “electronic storage” to mean

“(A) any temporary, intermediate storage of a wire or electronic

communication incidental to the electronic transmission thereof;

and   (B)   any   storage    of   such    communication      by   an   electronic

communication service for purposes of backup protection of such

      85
            See Doc. 227-4, Ex. 4 to Pls.’ Mot. for Partial Summ. J., Dep. Tr.
of David Kent pp. 17:11-18:25, 200:19-21, 201:16-18.
      86
            See Doc. 227-4, Ex. 4 to Pls.’ Mot. for Partial Summ. J., Dep. Tr.
of David Kent pp. 17:17-20, 19:1-11.
      87
            See Doc. 231, Defs.’ Mot. for Summ. J. p. 38.

                                         29
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communication[.]”       See 18 U.S.C. §§ 2711(1), 2510(17).

       Plaintiffs argue that each resume stored in the Rigzone resume

database is a backup copy for the user, and, thus, the resumes

within the database are in “electronic storage” as defined by the

SCA.88      As support, Plaintiffs cite to Theofel v. Farey-Jones, 359

F.3d 1066 (9th Cir. 2004).       In Theofel, the Ninth Circuit held that

an    obvious    purpose   of   emails    stored    on   an   internet   service

provider’s server after delivery was to function as backup copies

for users.      See id. at 1075.      Accordingly, the Ninth Circuit held

that the emails were stored “for purposes of backup protection”

under the SCA.       See id.

       Plaintiffs     specifically    quote   the   following     passage   from

Theofel to support their argument:

       An obvious purpose for storing a message on an ISP's
       server after delivery is to provide a second copy of the
       message in the event that the user needs to download it
       again—if, for example, the message is accidentally erased
       from the user's own computer. The ISP copy of the message
       functions as a “backup” for the user. Notably, nothing in
       the Act requires that the backup protection be for the
       benefit of the ISP rather than the user. Storage under
       these circumstances thus literally falls within the
       statutory definition.

Id. However, Plaintiffs have made alterations to this quotation so

that it reads as follows:

       [a]n obvious purpose for storing [the resume] . . . after
       delivery is to provide a second copy of the [resume] in
       the event that the user needs to download it again–if,
       for example, the [resume] is accidentally erased from the
       user’s own computer. The [Rigzone] copy of the message


       88
              See Doc. 240, Pls.’ Resp. to Defs.’ Mot. for Summ. J. pp. 16-18.

                                         30
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       functions as a “backup” for the user. Notably, nothing
       in the Act requires that the backup protection be for the
       benefit of [Rigzone] rather than the user. Storage under
       these circumstances thus literally falls within the
       statutory definition.89

Plaintiffs ask that, based on the altered Theofel quote, the court

find that one of the obvious purposes of the resumes being stored

in    the   Rigzone    resume   database     was   “for   purposes   of   backup

protection” for Rigzone’s users.             Plaintiffs cannot just replace

“message” with “resume,” replace “ISP” with “Rigzone,” and omit

that the email messages in Theofel were stored on an ISP’s server,

to meet their summary judgment burden to produce evidence showing

that a purpose of resumes stored in the database was for backup

protection.

       Plaintiffs have presented no summary judgment evidence that

the resumes were stored “for purposes of backup protection.”

Rather, the summary judgment evidence shows that the resumes were

stored so that: (1) Rigzone website users could apply for job

openings that were posted by employers and recruiters; and (2)

recruiters and employers who paid for access to the resume database

could directly solicit users who had uploaded their resumes.90

Furthermore, the court is not prepared to hold as a matter of

undisputed      fact   that:    (1)   emails   are   indistinguishable     from

resumes; (2) Rigzone is identical to an internet service provider;



       89
             See Doc. 240, Pls.’ Resp. to Defs.’ Mot. for Summ. J. pp. 17-18.
       90
             See Doc. 17, Def. Kent’s Orig. Ans. p. 3.

                                        31
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and (3) uploading resumes to a database is factually comparable to

email traffic.

       For these reasons, the court finds that Plaintiffs have failed

to    present    evidence    that    Defendants   accessed       an   electronic

communication while it was in electronic storage within the meaning

of the SCA.       Accordingly, summary judgment should be GRANTED on

Plaintiffs’ cause of action for violations of the SCA.

       6.    RICO

       Defendants argue that summary judgment should be granted on

Plaintiffs’ RICO claims against Kent because: (1) Plaintiffs have

failed to establish the continuity required for RICO claims; (2)

Plaintiffs have not suffered RICO damages; (3) there is no RICO

enterprise; and (4) Plaintiffs’ have no evidence of the investment

of income required for one of their RICO claims.91 Plaintiffs argue

that they have established continuity, suffered RICO damages, and

that there is a RICO enterprise.

       Congress enacted RICO to prohibit conduct involving a pattern

of racketeering activity.           See Anza v. Ideal Steel Supply Corp.,

547 U.S. 451, 453 (2006); Word of Faith World Outreach Ctr. Church,

Inc. v. Sawyer, 90 F.3d 118, 122 (5th Cir. 1996).                “One of RICO’s

enforcement mechanisms is a private right of action, available to

‘[a]ny person injured in his business or property by reason of a

violation’ of the RICO’s substantive restrictions.” Anza, 547 U.S.



       91
             See Doc. 231, Defs.’ Mot. for Summ. J. pp. 40-48.

                                        32
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at 453 (quoting 18 U.S.C. § 1964(c)).

       Plaintiffs allege violations of 18 U.S.C. §§ 1962(a) (“Section

1962(a)”), (b) (“Section 1962(b)”), and (d) (“Section 1962(d)”).92

Section 1962(a) punishes certain uses of income obtained from a

pattern     of   racketeering      activity.     Section      1962(c)    makes    it

unlawful for       “any   person    employed    by   or   associated     with    any

enterprise engaged in, or in the activities of which affect,

interstate or foreign commerce, to conduct or participate, directly

or indirectly, in the conduct of such enterprise’s affairs through

a pattern of racketeering activity.” 18 U.S.C. § 1962(c). Section

1962(d) makes it unlawful to conspire to violate any Section 1962

provision.       The substantive requirements of 18 U.S.C. § 1962 are

the same regardless of whether the suit is civil or criminal.                    St.

Paul Mercury Ins. Co. v. Williamson, 224 F.3d 425, 446 n.15 (5th

Cir. 2000).

       A pattern of racketeering activity is created by two or more

predicate acts that are related and constitute or pose a threat of

continued     criminal    activity.       18   U.S.C.     §   1961(5);   Brown   v.

Protective Life Ins. Co., 353 F.3d 405, 407 (5th Cir. 2003).

Continuity of criminal activity may refer to either a closed period

of    repeated    conduct   or     an   open-ended    period     that    threatens

repetition.      Zastrow v. Hous. Auto Imports Greenway Ltd., 789 F.3d

553, 561 (5th Cir. 2015)(quoting Word of Faith World Outreach Ctr.



       92
             See Doc. 236, Pls.’ 1 st Am. Compl. pp. 41-43.

                                         33
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Church, Inc. 90 F.3d at 122)).

            i.    Continuity

      Kent’s illegal conduct spanned from at least October 2013 to

August 2015.93    During this time period, Kent illegally downloaded

resumes from the Rigzone resume database on approximately fourteen

or more distinct occasions.94 Additionally, despite Kent’s argument

that his conduct would have ceased when he sold Oilpro to an

unwitting purchaser, there is no evidence that Kent would have

ceased his illicit conduct had he not been caught.             Kent’s illegal

downloading and the period over which it occurred creates a triable

issue of fact on whether continuity exists for the purposes of

RICO.

            ii.   RICO Damages

      Regarding Defendants’ second argument, RICO provides that “any

person injured in his business or property” by a violation of RICO

“shall recover threefold the damages he sustains and the cost of

the suit . . . .”         See 18 U.S.C. § 1964(c).          Defendants stole

hundreds of thousands of resumes from Plaintiffs.                The value of

these resumes is disputed. At trial, Plaintiffs will have to prove

that they were damaged and that the stolen resumes had a value.



      93
            See Doc. 233-1, Ex. B-14 to Defs.’ Mot. for Summ. J., Mandiant Report
pp. 7-8; Doc. 227-6, Ex. 6 to Pls.’ Mot. for Partial Summ. J., Criminal Compl.
pp. 7-8; Doc. 231, Defs.’ Mot. for Summ. J. p. 9; Doc. 231-1, Ex. J-52 to Defs.’
Mot. for Summ. J., Rigzone ResumeWriter Breach Summary at DHI_0024616-17.
      94
            See Doc. 233-1, Ex. B-14 to Defs.’ Mot. for Summ. J., Mandiant Report
pp. 7-8; Doc. 231-1, Ex. J-52 to Defs.’ Mot. for Summ. J., Rigzone ResumeWriter
Breach Summary at DHI_0024616-17.

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However, at this stage, Plaintiffs have met their burden to produce

evidence that they sustained RICO damages.

             iii. RICO Enterprise

     Under     RICO,    an   enterprise   “includes     any   individual,

partnership, corporation, association, or other legal entity, and

any union or group of individuals associated in fact although not

a legal entity[.]”      18 U.S.C. § 1961(4).   Kent is a distinct legal

entity from Oilpro and through their association, they form an

“enterprise” under RICO.      See Cedric Kushner Promotions, Ltd. v.

King, 533 U.S. 158, 163 (2001)(“The corporate owner/employee, a

natural person, is distinct from the corporation itself, a legally

different entity with different rights and responsibilities due to

its different legal status. And we can find nothing in [RICO] that

requires more ‘separateness’ than that.”). Accordingly, Defendants

argument fails on this issue.

             iv.   Investment of Income

     Plaintiffs’ RICO claim pursuant to Section 1962(a) requires

them to prove that Kent used or invested income derived from

racketeering activity “in [the] acquisition of any interest in, or

the establishment or operation of, any enterprise which is engaged

in, or the activities of which affect, interstate or foreign

commerce.”     Defendants argue that Plaintiffs failed to present

evidence of any income from racketeering activity or the investment

of such income.        Plaintiffs did not respond to this argument.



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Accordingly,       because    the   court    has    not    been   directed    to    any

evidence satisfying Plaintiffs’ Section 1962(a) claim, summary

judgment should be GRANTED on this claim.

     7.      CFAA and THACA

     Defendants argue that Plaintiffs have not presented evidence

of any damages that are recoverable under Plaintiffs’ CFAA or THACA

claims.95

     Under     the   CFAA,     Plaintiffs     are    entitled     to   compensatory

damages     for    “damage”    or   “loss”     suffered      because    of    a    CFAA

violation.     See 18 U.S.C. § 1030(g).            Under the CFAA, “loss” means

“any reasonable cost . . . including the cost of responding to an

offense, conducting a damage assessment, and restoring the data,

program, system, or information to its condition prior to the

offense,     and     any     revenue   lost,        cost    incurred,    or       other

consequential damages incurred because of interruption of service.

. . .”      18 U.S.C. § 1030(e)(11).               “Damage” is defined as “any

impairment to the integrity or availability of data, a program, a

system, or information . . . .”         18 U.S.C. § 1030(e)(8).           The THACA

provides a civil cause of action to a plaintiff “who is injured or

whose property has been injured as a result of a violation under

Chapter 33, Penal Code . . . .”             See Tex. Civ. Prac. & Rem. Code §

143.001(a).

     Plaintiffs have presented evidence of the estimated cost



     95
             See Doc. 231, Defs.’ Mot. for Summ. J. p. 49.

                                        36
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Rigzone incurred as a result of Defendants’ unauthorized access.96

Defendants claim these numbers are inaccurate and that portions of

the overall cost are not recoverable under the CFAA or THACA.97

However, those are issues for trial.               At this stage, Plaintiffs

have presented sufficient evidence that they suffered damages

recoverable under the CFAA and THACA such that these claims should

survive summary judgment.

         8.   Statute of Limitations

         Defendants argue that the following of Plaintiffs’ claims are

partially barred by the statute of limitations: (1) violation of

the CFAA; (2) violation of the SCA; (3) violation of the THACA; (4)

misappropriation of confidential information; and (5) violation of

the TTLA.       As discussed above, the court has recommended that

Plaintiffs’ SCA and TTLA claims be dismissed on other grounds.

Thus, the court will only analyze the remaining three claims.

         Plaintiffs’ CFAA, THACA, and misappropriation of confidential

information      claims    are    governed    by    a   two-year   statute    of

limitations.      See 18 U.S.C. 1030(g); Tex. Civ. Prac. & Rem. Code §§

16.003(a), 143.001(b).           In Texas, “[t]he general rule is that a

cause of action accrues, and the statute of limitations begins to

run, ‘when facts come into existence that authorize a claimant to

seek a judicial remedy.’”          Bell v. Philadelphia Intern. Records,


         96
              See Doc. 233-1, Ex. E-2 to Defs.’ Mot. for Summ. J., Spreadsheet of
Costs.
         97
              See Doc. 231, Defs.’ Mot. for Summ. J. p. 52.

                                        37
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981 F. Supp. 2d 621, 625 (S.D. Tex. 2013).              “A CFAA claim accrues

as soon as the plaintiff knows of the unauthorized access, even if

the identity of the perpetrator is not yet known.” Quantlab Techs.

Ltd. (BVI) v. Godlevsky, Civ. Act. No. 4:09-CV-4039, 2015 WL

1651251, at *2 (S.D. Tex. Apr. 14, 2015).

       Plaintiffs agree that they first contacted the FBI about the

unauthorized access to their resume database in May 2014.98                   This

shows that Plaintiffs were aware of the unauthorized access at

least as early as May 2014.          Plaintiffs did not file their lawsuit

until June 10, 2016.99       Plaintiffs have not argued that any sort of

tolling should apply to the statute of limitations for these

claims.       Accordingly,    summary      judgment    should    be    GRANTED    on

Plaintiffs’     CFAA,   THACA,   and    misappropriation        of    confidential

information claims for all conduct that occurred prior to June 10,

2014.

C.    Plaintiffs’ Motion for Summary Judgment on Counterclaims

       Plaintiffs    have    moved   for     summary   judgment100     on   all   of

Oilpro’s counterclaims on the bases that: (1) they are barred by

the doctrine of unclean hands; (2) Oilpro sued the wrong parties;



       98
             See Doc. 240, Pls.’ Resp. to Defs.’ Mot. for Summ. J. p. 24.
       99
             See Doc. 1, Pls.’ Orig. Compl.
      100
            As a preliminary matter, Oilpro objects to Plaintiffs’ inclusion of
two screenshots as evidence in their motion. While the court questions their
admissibility, it finds it unnecessary to consider these objections because, as
discussed below, its consideration of the screenshots does not affect its
decision. The admissibility of the screenshots is an issue better left to the
trial judge’s discretion.

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and (3) they do not have evidence sufficient to survive summary

judgment.101       Given the dismissal of Oilpro’s claims for trespass

to chattels and unjust enrichment, the following counterclaims

remain: (1) breach of contract; (2) violation of the CFAA; (3)

violation of the Digital Millennium Copyright Act (“DMCA”); (4)

copyright       infringement;     (5)    misappropriation;       (6)    trademark

infringement in violation of 15 U.S.C. § 1051; (7) Texas common law

trademark      infringement;     (8)    violation   of   the   THACA;    and   (9)

interference with prospective business relations.102

        1.    Unclean Hands Defense

        Plaintiffs argue that Oilpro’s counterclaims are barred by

Oilpro’s “filthy” hands.103         “Texas courts have long held that the

affirmative defense of unclean hands is available only in equity.”

Bagby Elevator Co., Inc. v. Schindler Elevator Corp., 609 F.3d 768,

774 (5th Cir. 2010)(citing Furr v. Hall, 553 S.W.2d 666, 672 (Tex.

Civ. App.—Amarillo 1977).          In Texas, “‘[t]he clean hands doctrine

requires that one who seeks equity, does equity.’”                  Id. (quoting

Dunnagan v. Watson, 204 S.W.3d 30, 41 (Tex. App.—Fort Worth 2006,

pet. denied))(alterations in original).             The clean hands doctrine

“‘should not be applied unless the party asserting [it] has been

seriously harmed and the wrong complained of cannot be corrected


        101
              See Doc. 228, Pls.’ Mot. for Summ. J. on Oilpro’s Countercls. pp. 12-
25.
        102
              See Doc. 63, Oilpro’s 2 nd Am. Ans. and Countercls.
        103
              See Doc. 228, Pls.’ Mot. for Summ. J. on Oilpro’s Countercls. p. 12.

                                         39
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without the application of the doctrine.’”             Id. (quoting Dunnagan,

204 S.W.3d at 41)(alterations in original).

       It is unclear whether the clean hands doctrine can even be

applied to Oilpro’s counterclaims because Oilpro’s remaining claims

do    not    appear    to   be   equitable.      Regardless,    Plaintiffs     have

completely failed to establish that the “filthy” conduct of which

they complain cannot be remedied through their live claims against

Defendants.         Accordingly, Oilpro’s counterclaims should not be

dismissed on this basis.

       2.     Wrong Party Defense

       Plaintiffs assert that Oilpro sued the wrong parties in its

counterclaims because Work Digital, Inc., a subsidiary of DHI

Group, is the party that actually scraped the Oilpro website.104 The

parties      have     presented    conflicting    evidence     on   this   point.105

Accordingly, the court cannot grant summary judgment on this basis.

       3.     The Oilpro Terms and Conditions

       Plaintiffs argue that Oilpro’s causes of action for breach of

contract, violation of the CFAA, violation of the THACA, and

misappropriation all fail because they did not breach Oilpro’s

terms and conditions.            Specifically, Plaintiffs argue that a link

to Oilpro’s terms and conditions did not appear on its home page or


       104
              See Doc. 228, Pls.’ Mot. for Summ. J. on Oilpro’s Countercls. p. 13.
       105
            See Doc. 228-12, Ex. 13 to Pls.’ Mot. for Summ. J. on Oilpro’s
Countercls., Dep. Tr. of Princepreet Chana pp. 27-28; Doc. 244, Ex. T to Oilpro’s
Resp. to Pls.’ Mot. for Summ. J. on Oilpro’s Countercls., Excerpts of Michael
Durney Dep. (Sealed).

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site map until after the period during which Plaintiffs allegedly

scraped Oilpro’s website.106            As support, Plaintiffs cite two

screenshots that purportedly show: (1) the absence of a link to the

Oilpro terms and conditions in the site map on July 23, 2015; and

(2) the appearance of a link to the Oilpro terms and conditions on

or around September 5, 2015.107

      Oilpro argues that the terms and conditions existed and, as

stated by Kent in an affidavit, were available in the following

ways: (1) through a link in the website’s side-bar navigation; (2)

through links placed on the login and create profile pages; or (3)

by running a search in the search bar on the homepage.108                   Oilpro

further     argues     that   Plaintiffs     were   aware    of   the   terms   and

conditions at the time of their alleged scraping.109                    Plaintiffs

argue that terms and conditions that are hidden cannot be binding

on them.110     In their reply, Plaintiffs cite to multiple URLs and

additional screenshots that purportedly show that the terms and

conditions      were   never   available     through   the    Oilpro     website’s

sidebar navigation as Kent suggests in his affidavit.111

      106
              See Doc. 228, Pls.’ Mot. for Summ. J. on Oilpro’s Countercls. p. 10.
      107
              See Doc. 228, Pls.’ Mot. for Summ. J. on Oilpro’s Countercls. p. 11.
      108
              See Doc. 63-1, Ex. A to Oilpro’s 2 nd Am. Councerls., Aff. of Kent.
      109
            See Doc. 238, Defs.’ Resp. to Pls.’ Mot. for Summ. J. on Oilpro’s
Countercls. pp. 18-19.
      110
            See Doc. 246, Pls.’ Reply in Support of Mot. for Summ. J. on Oilpro’s
Countercls. p. 5.
      111
            See Doc. 246, Pls.’ Reply in Support of Mot. for Summ. J. on Oilpro’s
Countercls. pp. 3-4.

                                        41
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        DHI’s CEO testified that, before scraping data from a website,

multiple DHI employees confirmed that the website’s terms and

conditions       permitted    the   scraping    of   data.112     Even    if   the

screenshots and other evidence cited by Plaintiffs were considered,

Oilpro has rebutted that evidence with evidence that showed that

links to the terms and conditions could be found by running a

search and appeared on the login and create profile pages.113               This,

combined with the testimony that multiple DHI employees confirmed

that DHI’s scraping was not in violation of a website’s term and

conditions, is sufficient to create a factual dispute whether

Oilpro’s terms and conditions existed and were known to DHI Group

at the time of its alleged scraping. Accordingly, summary judgment

should not be granted on Oilpro’s counterclaims on this basis.

        4.    Tortious Interference With Prospective Business Relations

        Plaintiffs move for summary judgment on Oilpro’s claim for

interference with prospective business relations on the basis that

Oilpro cannot produce evidence in support of all of the elements of

its claim.114       The elements of a claim for tortious interference

with prospective business relations are:

        “[(1)] a reasonable probability that the plaintiff would
        have entered into a business relationship with a third
        party; (2) the defendant either acted with a conscious

        112
            See Doc. 244, Ex. T to Oilpro’s Resp. to Pls.’ Mot. for Summ. J. on
Oilpro’s Countercls., Excerpts of Michael Durney Dep.
        113
              See Doc. 63-1, Ex. A to Oilpro’s 2 nd Am. Councerls., Aff. of Kent.
        114
              See Doc. 228, Pls.’ Mot. for Summ. J. on Oilpro’s Countercls. pp. 24-
25.

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      desire to prevent the relationship from occurring or knew
      the interference was certain or substantially certain to
      occur as a result of the conduct; (3) the defendant’s
      conduct was independently tortious or unlawful; (4) the
      interference proximately caused the plaintiff[‘s] injury;
      and (5) the plaintiff suffered actual damage or loss as
      a result.”

D’Onofrio v. Vacation Publ’ns, Inc., 888 F.3d 197, 214 (5th Cir.

2018)(quoting Coinmach Corp. v. Aspenwood Apartment Corp., 417

S.W.3d 909, 923 (Tex. 2013)).             Oilpro has presented evidence that

Progressive,         a     global   recruiting   company,   was   interested    in

entering into a business relationship with Oilpro.115                     However,

Progressive allegedly ended contract discussions after viewing

Oilpro member profiles posted by Plaintiffs on Dice Open Web.116

Oilpro argues that the fact that “Plaintiffs acted with conscious

desire      to    prevent     Progressive    from   entering   into   a   business

relationship with Oilpro can be inferred from the circumstances

(i.e., that Plaintiffs were-at the same time-cooperating with the

FBI in its investigation of David Kent) and Plaintiffs’ competition

with Oilpro.”117           Oilpro’s assertion is without merit.

      Reporting a crime or cooperating with the FBI is not an

independently tortious or unlawful action.                  Similarly, the bare

fact that Plaintiffs and Oilpro were competitors does not evidence

any conscious desire.               For these reasons, Plaintiffs motion for


      115
            See Doc. 244, Ex. Q to Oilpro’s Resp. to Pls.’ Mot. for Summ. J. on
Oilpro’s Countercls., Decl. of Kent.
      116
                 See id.
      117
            See Doc. 238, Oilpro’s Resp. to Mot. for Summ. J. on Oilpro’s
Countercls. pp. 19-20.

                                            43
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summary judgment should be GRANTED on Oilpro’s claim for tortious

interference with prospective business relations.

       5.    Remaining Arguments

       Plaintiffs’ brief contains additional arguments regarding

Oilpro counterclaims not addressed above. However, Oilpro has only

requested     that    Plaintiffs’   motion   be    denied   with   respect     to

Oilpro’s claims for: (1) breach of contract; (2) violation of the

CFAA; (3) violation of the THACA; (4) misappropriation; and (5)

tortious interference.118         The court understands this to be a

representation that Oilpro is no longer pursuing its counterclaims

for: (1) violation of the DMCA; (2) copyright infringement; (3)

trademark infringement in violation of 15 U.S.C. 1051; and (4)

Texas common law trademark infringement.           Accordingly, Plaintiffs’

motion for summary judgment should be GRANTED with respect to these

four claims.

D.    Motion to Strike Johnson’s Expert Testimony

       Plaintiffs have designated Johnson to testify as a retained

expert on economic damages and unjust enrichment that Plaintiffs

sustained      from   Defendants’    conduct.119      Defendants    ask   that

Johnson’s testimony be excluded for the following reasons: (1) his

testimony relies on false assumptions; (2) he uses incorrect

damages models; (3) his “market-value-per-user” valuation is “junk


      118
            See Doc. 238, Oilpro’s Resp. to Mot. for Summ. J. on Oilpro’s
Councercls. p. 20.
       119
             See Doc. 233-2, Ex. N-10 to Defs.’ Mot. to Strike Johnson p. 1.

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finance”      and    unreliable       for    other     reasons;      (4)    his   unjust

enrichment calculation is unreliable; (5) Johnson is unqualified;

and (6) Plaintiffs’ model is unfairly prejudicial.120

        1.    Reliance on False Assumptions

        Defendants argue that Johnson wrongly accepts Plaintiffs’

factual       allegations      as     true.121         Specifically,        Plaintiffs’

allegations      that     information        from    796,000      Rigzone    users    was

accessed and Oilpro obtained 111,000 new users as a result.122 While

Plaintiffs have certainly not established that these numbers are

100% accurate, they have presented evidence that supports them.123

It will be up to a jury to determine how many users had their

information accessed and how many joined Oilpro as a result.

Johnson is a damages expert.            If the facts assumed by Johnson to be

true are proven to be incorrect at trial, then the court is

confident that Defendants can effectively address that issue on

cross-examination.

        2.    Johnson’s Damages Models

        Defendants argue that both of Johnson’s damages models are

incorrect.          Johnson    opines       on   the     actual   loss     suffered   by

Plaintiffs      by      calculating     the      value    of   the    misappropriated


        120
              See Doc. 232, Defs.’ Mot. to Strike Johnson.
        121
              See id. p. 16.
        122
              See id.
        123
              See Doc. 215-1, Ex. A to Pls.’ Mot. to Strike Livingston, Sentencing
Memo.

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information.124        Johnson also opines on the unjust enrichment

Defendants received by projecting a potential income stream based

on    the    misappropriated        information.125      Defendants      argue      that

Johnson’s testimony should be excluded because Plaintiffs are not

allowed      to    recover    the    actual     value   of   the    misappropriated

information and unjust enrichment is limited to actual profits

gained from the use or disclosure of a trade secret.

       Under the TUTSA, a plaintiff may recover “the actual loss

caused by misappropriation and the unjust enrichment caused by

misappropriation that is not taken into account in computing actual

loss.” See Tex. Civ. Prac. & Rem. Code § 134A.004.                   Alternatively,

a     plaintiff       may     recover      “a    reasonable        royalty        for   a

misappropriator's           unauthorized      disclosure     or    use   of   a    trade

secret.”          See id.     Here, Plaintiffs do not seek a reasonable

royalty.126

       The court does not consider Defendants’ argument to raise a

Daubert issue on admissibility. Further, the court is not prepared

to hold that Johnson’s models do not fit within the TUTSA’s

allowable damages.            At trial, the trier of fact must determine

whether Plaintiffs have shown that they are entitled to the damages

that Johnson calculates.             Further, to the extent that Johnson’s


       124
            See Doc. 233-2, Ex. N-10 to Defs.’ Mot. to Strike Johnson, Johnson
Report pp. 6-10.
       125
              See id. p. 10.
       126
              See Doc. 237, Pls.’ 1 st Am. Compl. p. 46.

                                           46
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damages     models     do    not   comport     with   the     trial   judge’s   jury

instructions on damages, Plaintiffs will be unable to recover

damages     pursuant    to    those   models.         While    Defendants   make   a

persuasive argument, the issues they raise can be effectively

addressed on cross-examination at trial.127

      3.     Market-Value-Per-User Calculation

      Johnson estimates the value of the misappropriated information

using a market-value-per-user approach.128                  Under this approach,

Johnson determined the market values of Rigzone, Oilpro, and

similar companies, and divided that market value by the number of

users each company had.129         The resulting number was a market-value-

per-user for each company.130 Johnson used these market-values-per-

user to estimate the value of the Rigzone members’ misappropriated

information.131

      Defendants       argue       that   Johnson’s         market-value-per-user

methodology should be excluded as unreliable because: (1) the

methodology has not been subjected to peer review, lacks a known

error rate, and is not a generally accepted valuation method; (2)


      127
             The court notes that there are obvious overlaps between both damage
models. Plaintiffs may only recover for unjust enrichment “that is not taken
into account in computing actual loss.”        Tex. Civ. Prac. & Rem. Code §
134A.004(a).
      128
            See Doc. 233-2, Ex. N-10 to Defs.’ Mot. to Strike Johnson, Johnson’s
Report pp. 6-10.
      129
             See id.
      130
             See id.
      131
             See id.

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Johnson did not account for factors such as the age of each resume

or each user’s activity level; (3) in his valuation, Johnson

ignored the 2014 downturn in the oil and gas market; (4) the

overall value of OilCareers that Johnson used included mostly

assets unrelated to the OilCareers resume database; (5) Johnson’s

use of LinkedIn for comparison was in error as LinkedIn is not

substantially similar to Oilpro; and (6) Johnson’s use of an

investment in Oilpro to create an overall valuation of Oilpro was

flawed as that investment did not accurately represent Oilpro’s

value.132

     Regarding Defendants’ first argument, Defendants themselves

have previously estimated the potential value of Oilpro as a

multiple     of   the    number     of   future    members   that   Oilpro   would

garner.133    Further, Plaintiffs have presented evidence that social

media      companies     are     notoriously     difficult   to   value   and   are

sometimes valued based on their value per user.134                    These facts

establish that there is at least some reliability to Johnson’s

method sufficient for it to proceed to trial.

     All of Defendants’ remaining issues with Johnson’s market-

value-per-user methodology can be properly raised during cross-

examination       at    trial.      They   are    not   appropriate   reasons    to


     132
              See Doc. 232, Defs.’ Mot. to Strike Johnson pp. 25-31.
     133
            See Doc. 241-5, Ex. 5 to Pls.’ Resp. to Defs.’ Mot. to Strike
Johnson, Oilpro Presentation.
     134
            See Doc. 241-4, Ex. 4 to Pls.’ Resp. to Defs.’ Mot. to Strike
Johnson, PwC Valuation Index.

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completely exclude his testimony.                  There are multiple ways to

estimate the value of member information to a company such as

Oilpro or Rigzone.        Plaintiffs have chosen to attempt to represent

that value by using a market-value-per-user approach.                           It is

undisputed      that    Kent   used    the    member    information     he   took    to

increase      Oilpro’s     membership        by   inviting     the    members   whose

information he took to join Oilpro.135               Accordingly, the court sees

no issue with Plaintiffs’ attempting to represent the value of the

stolen      member     information     by    using    the    market-value-per-user

approach.

      4.      Unjust Enrichment

      In general terms, Johnson determined the value of the unjust

enrichment to Defendants by determining the value of Oilpro with

the stolen information minus the value of Oilpro without the stolen

information.136          Defendants     argue        that   this     calculation     is

unreliable because: (1) it is based on the “wholly speculative

expectations of profits” which is an inappropriate way to establish

unjust      enrichment;    (2)   the    calculation         relies   blindly    on   an

investor’s projection; and (3) the calculation is flawed because it

uses the incorrect valuation date and discount rate.137



      135
            See Doc. 227-4, Ex. 4 to Pls.’ Mot. for Partial Summ. J., Dep. Tr.
of David Kent p. 19:1-11; Doc. 227-2, Ex. 2 to Pls.’ Mot. for Partial Summ. J.,
Tr. of Kent Plea Hearing p. 13.
      136
            See Doc. 233-2, Ex. N-10 to Defs.’ Mot. to Strike Johnson, Johnson’s
Report p. 10.
      137
              See Doc. 232, Defs.’ Mot. to Strike Johnson pp. 31-39.

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     In   support    of   their   first   argument,   Defendants   cite     to

University Computing Co. v. Lykes-Youngstown Corp., where the Fifth

Circuit found that “[n]ormally only the defendant's actual profits

can be used as a measure of damages in cases where profits can be

proved, and the defendant is normally not assessed damages on

wholly speculative expectations of profits.” 504 F.2d 518, 536 (5th

Cir. 1974)(citing Sheldon v. Metro-Goldwyn Pictures Corp., 309 U.S.

390 (1939)).     However, the University Computing court also found

that “every case requires a flexible and imaginative approach to

the problem of damages” and “[w]here the damages are uncertain,

however, we do not feel that that uncertainty should preclude

recovery; the plaintiff should be afforded every opportunity to

prove damages once the misappropriation is shown.” Id. at 538-539.

     While it may have been a safer option for Plaintiffs to seek

a reasonable royalty, Defendants have not cited to any case law

that holds that Plaintiffs must seek a reasonable royalty. Indeed,

the TUTSA provides that a reasonable royalty may be imposed in lieu

of the actual loss cause by the misappropriation plus the unjust

enrichment not accounted for by the actual loss.            See Tex. Civ.

Prac. & Rem. Code § 134A.004(a).          Here, Plaintiffs seek to prove

the unjust enrichment to Defendants by measuring the difference in

Oilpro’s value before and after it obtained the stolen information.

Where Oilpro has collapsed and is now profitless, it is difficult

for the court to see another way to establish the unjust enrichment

to Defendants.      While Johnson’s unjust enrichment methodology is

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atypical, the court cannot exclude it at this stage while also

being “imaginative” and “flexible.”

      In their second argument, Defendants argue that Johnson’s

reliance on projections made by an investor in Oilpro, Jonathan

Fairbanks    (“Fairbanks”),     was   flawed   because    Johnson   did   not

investigate the Fairbanks projections and Fairbanks himself admits

that his projections should not be relied on.            Defendants further

argue that Fairbanks created his projections “as a negotiating

tool: he sought to show Kent the value that this investment could

bring to Kent’s company.”138

      The court does not find it unreasonable of Johnson to rely on

a potential investor’s projections of Oilpro’s future accounting

figures for the purposes of valuing Oilpro at the time of the

potential    investment.       Despite     Defendants’   argument    to   the

contrary, it is highly likely that these projections would favor

Defendants and highly unlikely that these projections would inflate

the value of Oilpro so that Fairbanks would have to pay more to

invest in the company. Finally, at best, Fairbanks’ assertion that

his own projections were unreliable creates a fact issue as to

their reliability because Kent reimbursed Fairbanks’ $3 million

investment after Kent was indicted and this lawsuit had been

initiated.139

      138
            See Doc. 232, Defs.’ Mot. to Strike Johnson p. 37.
      139
            See Doc. 241-7, Ex. 7 to Pls.’ Resp. to Defs.’ Mot. to Strike
Johnson, Stock Purchase Agreement; Doc. 227-4, Ex. 4 to Pls.’ Mot. for Partial
Summ. J., Dep. Tr. of Kent pp. 106:2-109:6.

                                      51
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     Finally, Defendants argue that Johnson’s choice of October 17,

2013, as the valuation date is flawed because Kent’s illegal

accesses      occurred       on   more    than   one    date.140      Additionally,

Defendants argue that Kent chose an inflated discount rate.141                  The

court finds that Defendants can effectively cross-examine Johnson

on these alleged issues.

     5.       Johnson’s Qualifications

     Defendants also argue that Johnson is unqualified to give his

testimony while admitting that Johnson is a professor who teaches

valuation and is educated in valuation generally.142                     Defendants

contend that Johnson is unqualified to testify about a reasonable

royalty valuation or unjust enrichment valuation.143                     Defendants

then spend the entirety of the qualifications section of their

brief      arguing,     as   they   have    elsewhere    in   their    brief,   that

Johnson’s calculations are not an appropriate way to measure

damages under the TUTSA.                 The lone attack Defendants make on

Johnson’s qualifications is that Johnson has never testified about

a reasonable royalty and has not done an analysis of license

agreements for the use of bulk resumes.144

     Johnson graduated from Louisiana State University (“LSU”) in


     140
              See Doc. 232, Defs.’ Mot. to Strike Johnson pp. 37-39.
     141
              See id. p. 39.
     142
              See Doc. 232, Defs.’ Mot to Strike Johnson pp. 39-40.
     143
              See id.
     144
              See id. p. 42.

                                           52
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1986 with a B.S. in Finance.145      Johnson received his Ph.D. from LSU

in 1991; his major was finance and his minor was economics.146             From

1991 to 1997, Johnson taught as an associate professor at Bowling

Green State University.147      From 1997 to 2000, Johnson taught as an

associate professor at the University of Cincinnati.148             From 2000

to 2002, Johnson worked at LSU as an associate professor and

“Distinguished Professor.”149        From 2002 to 2004, Johnson was an

“Endowed Chair of Banking” at LSU and from 2003 to 2004 he worked

as a professor of finance at LSU.150           From 2004 to 2011, Johnson

worked as a professor of finance at Texas A&M University.151               From

2011 to present, Johnson has been a “Memorial Chair in Finance” at

Texas A&M University.152

      Johnson has taught courses on valuation at the undergraduate

and graduate levels.153        Johnson has also taught the following

courses: (1) corporate finance and advanced corporate finance at



      145
            See Doc. 233-2, Ex. N-10 to Defs.’ Mot. to Strike Johnson, Johnson’s
Report App. p. 1272.
      146
            See id.
      147
            See id.
      148
            See id.
      149
            See id.
      150
            See id.
      151
            See id.
      152
            See id.
      153
            See Doc. 241-1, Ex. 1 to Pls.’ Resp. to Defs.’ Mot. to Strike
Johnson, Johnson Dep. Tr. pp. 225-26.

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the master and doctorate levels; (2) financial institutions at the

bachelor, master, and doctoral levels; (3) financial markets and

institutions at the bachelor and master levels; and (4) investments

at the bachelor level.154 Johnson has been published numerous times

with many of his publications being in the area of valuation.155

      Johnson is an expert in the areas of finance and valuation and

such expertise is sufficient for Johnson’s testimony to proceed to

trial.

      6.         Simplistic Model

      Finally, Defendants argue that Johnson’s market-value-per-user

model       is    so   simplistic    that      it   is   unfairly    prejudicial.156

Essentially, Defendants argue that Johnson has done nothing more

than act as a calculator and that his simple arithmetic calculation

must be excluded.           Johnson’s calculation is far more than simple

arithmetic that the average layperson could perform.157                   The court

finds that Johnson’s model is not too simplistic that it is

prejudicial and that the model will aid the jury.

      For all of the above reasons, Defendants’ motion to strike

Johnson is DENIED.




      154
            See Doc. 233-2, Ex. N-10 to Defs.’ Mot. to Strike Johnson, Johnson’s
Report App. p. 1276.
      155
                 See id. App. pp. 1272-1274.
      156
                 See Doc. 232, Pls.’ Mot. to Strike Johnson p. 43.
      157
            See Doc. 233-2, Ex. N-10 to Defs.’ Mot. to Strike Johnson, Johnson’s
Report pp. 6-10.

                                            54
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E.    Motion to Strike Aslanyan158

       Plaintiffs have designated Aslanyan to testify as a non-

retained expert.159       Aslanyan is an agent for the Federal Bureau of

Investigation         (“FBI”)   and    was   involved      in   the   criminal

investigation of Kent.160

       Defendants argue that Aslanyan should be struck because: (1)

Aslanyan’s designation is insufficient under Federal Rule of Civil

Procedure (“Rule”) 26(a); (2) the facts and information Aslanyan

relied on are flawed; and (3) Aslanyan’s testimony’s prejudice to

Defendants outweighs its probative value.161

       1.    Rule 26(a)

       Under Rule 26(a)(2)(B), if a witness is “retained or specially

employed to provide expert testimony” then the witness must provide

a written report.         Under Rule 26(a)(2)(C), if a witness is not

required to provide a written report, then their disclosure must

state: “(i) the subject matter on which the witness is expected to

present evidence under Federal Rule of Evidence 702, 703, or 705;

and (ii) a summary of the facts and opinions to which the witness

is    expected   to    testify.”      Defendants   argue   that   Aslanyan     is



       158
            The court questions the point of Aslanyan’s designation because it
is unlikely that she will be permitted to testify at trial. See 28 C.F.R. §
16.22 et seq.
       159
            See Doc. 233-2, Ex. N-10 to Defs.’ Mot. to Strike Aslanyan, Pls.’
Expert Designations p. 3.
       160
             See id.
       161
             See Doc. 230, Defs.’ Mot. to Strike Aslanyan pp. 6-14.

                                        55
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“specially employed” to provide expert testimony and did not

provide a written report.        Alternatively, Defendants argue that

Aslanyan’s disclosure is insufficient under Rule 26(a)(2)(C).

     “[A] witness is ‘specially employed’ if she has no personal

involvement in the facts giving rise to a case and is instead

engaged specifically by a party to provide opinions and testimony

bearing on the particulars of a case, without monetary payment for

those services.” Tolan v. Cotton, Civ. Act. No. H-09-1324, 2015 WL

5332171, at *7 (S.D. Tex. Sept. 14, 2015)(citing Huffman v. City of

Conroe, Civ. Act. No. H–07–1964, at *6-7 (S.D. Tex. July, 31,

2008))(internal quotation marks omitted).         Aslanyan was personally

involved in the criminal investigation of Kent.            Accordingly, she

is not “specially employed” and is not required to provide a

report.

     Regarding     their   second    argument,    Defendants     argue   that

Aslanyan’s disclosure does not provide a summary of the facts and

opinions to which she is expected to testify as required by Rule

26(a)(2)(C)(ii).162     Aslanyan’s disclosure very clearly provides

that she will testify generally regarding: (1) the methods used to

access     Rigzone’s   data   and   information;     and   (2)   the     FBI’s

investigation of the underlying incident.163         Aslanyan’s disclosure




     162
            See Doc. 230, Defs.’ Mot. to Strike Aslanyan p. 9.
     163
            See Doc. 233-2, Ex. N-10 to Defs.’ Mot. to Strike Aslanyan, Pls.’
Expert Designations p. 3.

                                     56
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also lists six specific facts that she is expected to testify to.164

The court finds that this disclosure complies with Rule 26.

     2.    Reliability of Information Aslanyan Relied On

     Defendants next argue that Aslanyan’s testimony regarding the

number of HTTP requests and number of resumes accessed relies on a

spreadsheet that was provided to her and fails to exclude HTTP

requests that were rejected, invalid, or returned a blank or

duplicate resume.165    The court is confident that Defendants can

more appropriately address these issues on cross-examination at

trial.

     3.    Prejudice to Defendants

     Finally, Defendants argue that Aslanyan’s testimony should be

excluded because her testimony will be misleading and prejudicial

given her position as an FBI agent.166            “The court may exclude

relevant   evidence    if    its   probative     value   is   substantially

outweighed by a danger of . . . unfair prejudice . . . [or]

misleading the jury.”       Fed. R. Evid. 403.    Aslanyan’s testimony is

certainly damaging to Plaintiffs because she will testify regarding

Kent’s criminal conduct.       However, damaging testimony does equate

to unfair prejudice.     The court finds that the probative value of

Aslanyan’s testimony is not “substantially outweighed” by any



     164
           See id.
     165
           See Doc. 230, Defs.’ Mot. to Strike Aslanyan p. 13.
     166
           See Doc. 230, Defs.’ Mot. to Strike Aslanyan p. 14.

                                     57
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potential unfair prejudice to Defendants.               See Smith v. Universal

Services, Inc., 454 F.2d 154, 157 (5th Cir. 1972)(holding that the

“highly      probative”   value   of   an    EEOC   investigator’s    testimony

outweighed any possible prejudice to the defendant in a Title VII

discriminatory employment practices case).

       For the above reasons, Defendants motion to strike Aslanyan is

DENIED.

F.    Plaintiffs’ Motion to Exclude Livingston

       On March 21, 2019, the court held a hearing on Plaintiffs’

motions to strike and exclude expert Livingston (Docs. 215 & 226).

On March 22, 2019, the court ordered that Livingston must be able

to recreate his analysis without any use or reference to certain

files listed in the order.167               The court further ordered that

Plaintiffs were allowed to redepose Livingston, and, if after

retaking his deposition, they still believed his methodology should

be excluded as unreliable, they were to so move within fourteen

days of the retaking of the deposition.168                 Plaintiffs did not

redepose Livingston and instead filed the pending supplemental

motion to exclude on April 19, 2019.169

       Plaintiffs were given the opportunity to show that they were

entitled to the requested relief at the March 21, 2019 hearing.                At



       167
              See Doc. 259, Ord. Dated Mar. 22, 2019.
       168
              See id.
       169
              See Doc. 266, Pls.’ Supp. Mot. to Exclude Livingston.

                                       58
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the hearing, the court was unconvinced that Livingston should be

completely excluded from testifying.                Plaintiffs now request that

Livingston be excluded without having redeposed him as the court’s

order explicitly states.           The court finds Plaintiffs’ failure to

redepose Livingston        detrimental         to   their   supplemental   motion.

Accordingly, Plaintiff’s supplemental motion to exclude Livingston

is DENIED.      Plaintiffs will have to address the credibility issues

related to Livingston’s testimony on cross-examination at trial.

G.     Plaintiffs’ Motion for Attorneys’ Fees

       On    March   22,   2019,    the   court      awarded   Plaintiffs   their

reasonable attorneys fees for filing their Motion to Exclude the

Testimony of Livingston.170         On April 5, 2019, Plaintiffs filed a

motion for their attorneys fees pursuant to the court’s order.171

Attached to the motion is a summary of the total fees each

individual attorney incurred working on the motion to exclude.172

Defendants requested itemized fee statements from Plaintiffs.173

Plaintiffs refused to produce the itemized statements because doing

so “would get into privilege and strategy.”174               However, Plaintiffs



       170
              See Doc. 259, Ord. Dated Mar. 22, 2019.
       171
              See Doc. 263, Pls.’ Mot. for Attorneys’ Fees.
      172
            See Doc. 263-1, Ex. 1 to Pls.’ Mot. for Attorneys’ Fees, Decl. of
Walter Lynch.
       173
            See Doc. 274-1, Ex. A to Defs.’ Resp. to Pls.’ Mot. for Attorneys’
Fees, Emails Between Counsel.
       174
            See Doc. 263-1, Ex. 1 to Pls.’ Mot. for Attorneys’ Fees, Decl. of
Walter Lynch.

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have indicated that they are willing to produce itemized statements

to the court for an in camera inspection.175

     The    court      finds    it   necessary      to    review    Plaintiffs’     fee

statements to ensure that their fees are reasonable and related to

the motion to exclude.          Accordingly, Defendants’ motion is GRANTED

IN PART AND DENIED in part.            It is hereby, ORDERED that Plaintiffs

produce their itemized fee statements to the court for an in camera

inspection.

                                 IV.       Conclusion

     Based     on   the    foregoing,       the    court   RECOMMENDS      that:    (1)

Plaintiffs’ Affirmative Motion for Partial Summary Judgment be

DENIED; (2) Plaintiffs’ Motion for Summary Judgment on Oilpro’s

Counterclaims       be    GRANTED     IN    PART    AND    DENIED     IN   PART;    (3)

Defendants’ Motion for Summary Judgment be GRANTED IN PART AND

DENIED IN PART; (4)            summary judgment be GRANTED on Plaintiffs’

TUTSA claims related to the Google analytics data and internet

search techniques, SCA claims, Section 1962(a) RICO claim; (5)

summary    judgment       be   GRANTED      on   Plaintiffs’       CFAA,   THACA,   and

misappropriation of confidential information claims to the extent

that they relate to conduct that occurred prior to June 10, 2014;

(6) summary judgment be GRANTED on Defendants’ claims for tortious

interference with prospective business relations, violation of the

DMCA, copyright infringement, trademark infringement in violation

     175
             See id.

                                            60
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of 15 U.S.C. 1051, and Texas common law trademark infringement.

       It is hereby ORDERED, that: (1) Defendants’ motion to strike

Johnson is DENIED; (2) Defendants’ motion to strike Aslanyan is

DENIED; (3) Plaintiffs’ motion to exclude Livingston is DENIED; (4)

Plaintiffs’ motion for attorneys’ fees is GRANTED IN PART AND

DENIED IN PART; and (5) Plaintiffs produce their relevant itemized

fee statements to the court for an in camera inspection.

       The   Clerk     shall   send    copies    of   this   Memorandum    and

Recommendation to the respective parties who have fourteen days

from   the   receipt    thereof   to   file     written   objections   thereto

pursuant to Federal Rule of Civil Procedure 72(b) and General Order

2002-13. Failure to file written objections within the time period

mentioned shall bar an aggrieved party from attacking the factual

findings and legal conclusions on appeal.

       The original of any written objections shall be filed with the

United States District Clerk electronically.                 Copies of such

objections shall be mailed to opposing parties and to the chambers

of the undersigned, 515 Rusk, Suite 7019, Houston, Texas 77002.

       SIGNED in Houston, Texas, this 12th         day of July, 2019.




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